Case 2:03-CV-02261-.]DB Document 41 Filed 07/07/05 Page 1 of 3 Page|D 54

lN THE UNITED sTATE,s DISTRICT COURT F"~ED BY ~U'd.-......`e’ D.Cl
FoR THE WESTERN DisrRICT oF TENNESSEE
WESTERN DivlsioN 05 JUL *7 PH 5= 38
CHRlsToPHER sAWvER, IHGMAS M. GOULD

CEHK, U»S. onset conn

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Plaintiff, WD G'h " ` !“""“ rfc

v. N0.03-2261 B

CITY OF MEMPHIS, et al.,

Defend ants,

and

B RlTT SHANE HUTCHlNS ON,
Plainti ff,

v.

CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the Court are the May 31, 2005 motion ofDefendant officers Franl< l-lannah and A.
Kosso to dismiss and for summary judgment and the May 31, 2005 motion of the City of Memphis
for summary judgment against the Plaintiffs, Christopher Sawyer and Britt Shane Hutchinson.
According to the Court's docket, no responses have been filed on behalf of the Plaintiffs, even

though the deadlines for such responses have expiredf

 

lUnder the Local Rules of this district, responses to motions to dismiss and motions for
summary judgment "must be filed Within thirty days of service of the motion.“ LR?.Z(a)(Z),
Local Rules ofthe U.S. Dist. Ct. for the W. Dist. ofTenn.

Thls document entered on the docket sheet ln compliance
with Ftuie 56 and!or 79(a) FRCP on “ '

 

Case 2:03-cV-02261-.]DB Document 41 Filed 07/07/05 Page 2 of 3 Page|D 55

Accordingly, the Plaintift`s are hereby directed, Within eleven (l l) days ot`the entry hereof,
to show cause why the motions referenced herein should not be granted Failure of the Plaintiffs to

comply in a timely manner With this order may result in dismissal With prejudice of the Plaintiffs’

claims.

14th
rt Is SO oRDERED this j day Of.r 005.

J. D IEL BREEN \ vi
srATEs DisTRiCT JUDGE

 

   

UNITED sATES DTRISIC COURT - W"'RNT DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CV-02261 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

